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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
GEORGE WEBB SWEIGERT                      )
                                          )
                         Plaintiff,       )
                                          )
            v.                            )  No. 1:17-cv-02223
                                          )
TOM PEREZ, et al.,                        )
                                          )
                         Defendants.      )
__________________________________________)

                                 NOTICE OF APPEARANCE

       I, Sarah Clouse, pursuant to 2 U.S.C. § 5571(a), * hereby enter my appearance as counsel

of record in the above-captioned case for defendant Theresa Granfenstine. Please send all future

notices in this matter to me.

                                         Respectfully submitted,

                                         /s/ Sarah Clouse
                                         SARAH CLOUSE (MA Bar No. 688187)
                                         Attorney

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                                         Counsel for Defendant Theresa Grafenstine

December 20, 2017


*
 Attorneys in the U.S. House of Representatives Office of General Counsel are “entitled, for the
purpose of performing the counsel’s functions, to enter an appearance in any proceeding before
any court of the United States or of any State or political subdivision thereof without compliance
with any requirements for admission to practice before such court.” 2 U.S.C. § 5571(a).
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                                CERTIFICATE OF SERVICE


       I hereby certify that on December 20, 2017, I filed the foregoing Notice of Appearance

via the U.S. District Court for the District of Columbia’s CM/ECF system, and served a copy by

first-class mail, postage prepaid, on the following non-registered CM/ECF filer:


       GEORGE WEBB SWEIGERT
       8850 Hampton Drive
       Capitol Heights, MD 20743
       Plaintiff, Pro Se


                                             /s/ Sarah Clouse
                                             Sarah Clouse
